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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                           CASE NO. 8:24-cr-20-MSS-CPT

  HEIDI RICHARDS
  a/k/a Heidi Hastings
  a/k/a Heidi Shaffer
  a/k/a Heidi Williams

              UNITED STATES’ RESPONSE TO THE DEFENDANT’S
                  MOTION TO DISMISS THE INDICTMENT

         For several years the Defendant violated Microsoft’s licensing agreements and

  federal law. Despite receiving clear warnings from Microsoft that her practices were

  illegal, the Defendant bought and sold Microsoft product labels and key codes

  separate from the computer programs that they are designed to authenticate and

  activate. These illicit practices, which are alleged in detail in the Indictment, fall

  squarely within the prohibitions set forth in 18 U.S.C. §§ 2318 and 1029. Because the

  Defendant has not identified any pleading deficiencies in the Indictment, the

  Defendant’s Motion to Dismiss should be denied.

   I.    BACKGROUND

         A.     Procedural History

         On January 9, 2024, defendant Heidi Richards, a/k/a Heidi Hastings, a/k/a

  Heidi Shaffer, a/k/a Heidi Williams, was charged by Indictment with conspiring to

  traffic in illicit labels designed to be affixed to, enclose, or accompany copies of

  computer programs, in violation of 18 U.S.C. §§ 371 and 2318 (Count One);
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  trafficking in illicit labels designed to be affixed to, enclose, or accompany copies of

  computer programs, in violation of 18 U.S.C. § 2318 (Count Two); trafficking in

  unauthorized access devices, in violation of 18 U.S.C. § 1029(a)(2) (Counts Three

  and Four); and possessing 15 or more unauthorized access devices, in violation of 18

  U.S.C. § 1029(a)(3).

        On April 29, 2024, the Defendant filed a Motion to Dismiss the Indictment

  (the “Motion) (Doc. 33). The Motion argues that the Indictment should be dismissed

  because Counts One and Two improperly charge her with violating 18 U.S.C. § 2318

  for electronic transmission of labels and for trafficking in copies (in the form of key

  codes) rather than genuine labels, and because Counts Three through Five fail to

  allege that product activation key codes are access devices.

        B.     Indictment

        The Indictment alleges that the Defendant, through her software distribution

  business, conspired with individuals to obtain standalone Certificates of Authenticity

  (“COA”) labels for Microsoft software products and to sell the product activation

  key codes contained on those labels independently of the copyrighted software

  program to which they are designed to be affixed, enclosed, or accompany. The

  Indictment further alleges that the Defendant trafficked in and possessed

  unauthorized access devices, that is, Microsoft product activation key codes.

        The Defendant owned Trinity Software Distribution (“Trinity”), a software



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  distribution business located in this District. Indictment ¶ 1. This case concerns the

  Defendant’s illegal distribution of Microsoft Corporation (“Microsoft”) computer

  software programs. Id. ¶ 2.

        As set forth in the Indictment, Microsoft distributes its software products using

  a variety of channels, including on physical media and through digital download. Id.

  ¶¶ 6-7. Software that is distributed on physical media by an authorized distributor

  will include COA labels that are intended to demonstrate that the copyrighted

  computer program is genuine and to signal to the intended end user that the use of

  the license is non-infringing. Id. ¶ 6. COA labels may not be sold on a “standalone”

  basis separated from the software that they were intended to authenticate. Id. ¶ 14.

        Digital download of Microsoft software, on the other hand, is available

  through a limited number of authorized companies or retailers that provide an

  Internet link to download a copy of the software. Id. ¶ 7. In either distribution

  method, use of the copyrighted computer program is dictated by license terms, which

  vary based upon the context in which the software is to be used, the number of

  licenses being purchased, the number of activations permitted under the license,

  among other things. Id. ¶ 8.

        Microsoft further ensures that copies of its computer programs are installed in

  accordance with its license terms by employing the use of product key codes to

  register and authenticate a software product at installation. Id. ¶ 9. A product key



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  code is a unique alphanumeric code that corresponds with a particular license and

  the terms and limitations of that license. Id. During the activation process, the

  intended user’s computer accesses Microsoft servers to register the software program

  and verify the product key code relative to the distinctive characteristics associated

  with its specific license. Id. ¶ 10. Upon successful verification, the product key code

  then unlocks the functionality of the software associated with the license. Id. If the

  product key code is rejected by Microsoft servers because of improper use or access,

  the software program will not operate. Id.

          Despite Microsoft’s efforts to secure the supply chain for software through

  authentication of legitimate installations, product key codes may be illicitly obtained

  via fraud, such as when they are procured or sold without accompanying COAs,

  distributed in nonsequential order, or sold at prices far below the manufacturer’s

  retail price. Id. ¶ 11. Bulk distribution of product key codes via email and

  spreadsheets is a strong indicator that the key codes are not procured legitimately. Id.

  ¶ 12.

          Beginning at least as early as August 11, 2017, the Defendant, doing business

  as Trinity, conspired with Unindicted Coconspirator-1, doing business as Company

  A, as well as with others, to traffic in illicit COA labels designed to be affixed to,

  enclose, or accompany copies of Microsoft Windows 10 Pro computer programs. Id.

  ¶ 17. Unindicted Coconspirator-1 owned Company A, which was located in Texas



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  and engaged in the business of distributing purported Microsoft software. Id. ¶ 3. In

  or around April 2017, Microsoft sued Company A in federal court for selling

  unauthorized copies of Microsoft software via internet download and unauthorized

  product activation keys. Id. ¶ 16. In or around October 2017, Company A was

  enjoined from engaging in those fraudulent practices. Id.

        The Indictment alleges 13 Overt Acts (“OA”) that the Defendant and/or

  Unindicted Coconspirator-1 committed in furtherance of the conspiracy. For

  example, the Indictment alleges that Unindicted Coconspirator-1 contacted the

  Defendant in August 2017 to see if she could “‘use any of these’ referring to various

  Microsoft products, including ‘100 pc’ or ‘Windows 10 Pro OEM.’” Id. ¶ 19a. OEM

  stands for “original equipment manufacturer,” typically referring to licenses of

  software that is preinstalled on or included with a prebuilt computer or with

  computer hardware. Id. ¶ 8. Neither the Defendant, doing business as Trinity, nor

  COMPANY A are Microsoft original equipment manufacturers (OEM). Id.

        The Indictment further alleges instances where the Defendant purchased

  Microsoft COA labels in bulk from Company A and had the product key codes

  transcribed from the labels onto spreadsheets so that Trinity could sell the product

  key codes to customers. For example, on July 24, 2018, the Defendant, doing

  business as Trinity, purchased from Company A approximately 500 Microsoft Retail

  Windows 10 Pro and 300 Windows 10 Home COA labels for $22,100. Id. ¶ 19b.



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  Approximately one week later, on August 1, 2018, the Defendant caused a Trinity

  employee to email two spreadsheets attached to an email with the subject line ‘“win

  10 keys transcribed.’” One spreadsheet was titled, “‘QTY 300 WIN HOME KEYS

  07262018’”; the other was titled, “‘QTY 500 WIN 10 PRO KEYS 07262018.’” Id.

  Then, a few days later, on August 6, 2018, the Defendant caused a Trinity employee

  to send approximately 20 of the 500 Windows 10 Pro product key codes that the

  Defendant had purchased on July 24, 2018, from Company A to a customer in the

  United Kingdom. Id. ¶ 19d.

        Additionally, the Indictment alleges that Unindicted Coconspirator-1 sold the

  Defendant product key codes that were transcribed from Microsoft COA labels by

  Unindicted Coconspirator-1. On or about May 16, 2022, Unindicted Coconspirator-

  1 sent the Defendant by email a spreadsheet that contained approximately 200

  Microsoft Office 2019 Home Business OEM product keys, 100 Microsoft Office 2019

  Home Student Retail product keys, and 100 Microsoft Office 2021 Home Student

  Retail product keys. Id. ¶ 19g. That same day, Unindicted Coconspirator-1 had sent

  the Defendant by email an invoice for the aforementioned product keys that reflected

  the price per “unit.” Id. ¶ 19f. Unindicted Coconspirator-1 had contacted the

  Defendant by email a few days prior soliciting the Defendant’s interest in purchasing

  “‘Office 2019 Home Student OEM,’” which he described as “‘like the Windows 10

  [the Defendant’s] been buying with a scratch-off.’” Id. ¶ 19e. The email also included



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  information on “‘~1000 pcs Office 2019 Home Student OEM $20.00,” with an offer

  to “‘transcribe them if needed as well.’’” Id. Approximately 10 days after receiving

  the spreadsheet of product key codes, the Defendant paid Company A approximately

  $41,824. Id. ¶ 19h.

         As noted above, the Indictment alleges instances in which the Defendant

  arranged the transcription of key codes contained on COA labels and emailed those

  codes electronically. The Indictment’s allegations, however, are not limited to the

  digital transmission of product key codes from COA labels. The Indictment also cites

  multiple instances where the Defendant purchased, and Unindicted Coconspirator-1

  mailed to her, physical Microsoft COA labels. In communications beginning on or

  about November 30, 2022, Unindicted Coconspirator-1 informed the Defendant that

  he had “‘31k units,’” of which he could “‘send out that 10k tomorrow and hold

  however many [the Defendant] want[s] up to 21k.’” Id. ¶ 19i. Then, on or about

  December 5, 2022, the Defendant purchased from Company A approximately 4,988

  Microsoft Windows 10 Pro COA labels for approximately $99,760, and

  approximately 5,000 additional Microsoft Windows 10 Pro COA labels for

  approximately $100,000. Id. ¶ 19j-k. That same day, Unindicted Coconspirator-1

  confirmed to the Defendant that he was “‘sending that package out for priority

  delivery,’ describing it as ‘Precious cargo.’” Id. ¶ 19l.




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  II.    MEMORANDUM OF LAW

         A.     Legal Standard

         Federal Rule of Criminal Procedure 7(c)(1) provides: “The indictment or

  information must be a plain, concise, and definite written statement of the essential

  facts constituting the offense charged . . .” An indictment is sufficient if it includes

  “all elements of the offense and briefly describe[s] the facts of the commission of

  offense.” United States v. deVegter, 198 F.3d 1324, 1330 (11th Cir. 1999); see also United

  States v. Yonn, 702 F.2d 1341, 1348 (11th Cir. 1983) (requirements of Rule 7(c)(1)

  “satisfied by an indictment that tracks the wording of the statute, as long as the

  language sets forth the essential elements of the crime”).

         A motion to dismiss an indictment may only be decided prior to trial if the

  court can rule on the motion “without a trial on the merits.” Fed. R. Crim. P.

  12(b)(1). This requirement is met only if a “trial of the facts surrounding the

  commission of the alleged offense would be of no assistance in determining the

  validity of the [motion].” United States v. Covington, 395 U.S. 57, 60 (1969). Therefore,

  in analyzing a motion to dismiss, the court is limited to the allegations in the

  indictment and must read those allegations in the light most favorable to the

  government. See United States v. Torkington, 812 F.2d 1347, 1354 (11th Cir. 1987).




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         B.     Analysis

                1.     Counts One and Two sufficiently allege that the Defendant
                violated 18 U.S.C. §§ 371 and 2318 by trafficking in physical, illicit
                labels designed to be affixed to, enclose, or accompany copies of
                Microsoft computer programs.

         It is well established that an indictment need only set forth the essential

  elements of the crimes and adequately specify the time, place and participants

  involved. See Hamling v. United States, 418 U.S. 87, 117 (1974); United States v. Harrell,

  737 F.2d 971, 975 (11th Cir. 1984), cert. denied, 470 U.S. 1027 (1985); United States

  v. Ramos, 666 F.2d 469, 474 (11th Cir. 1982). Here, Count One sufficiently describes

  the manner and means by which the coconspirators sought to accomplish the

  objectives of the charged conspiracy (i.e., trafficking in illicit labels in violation of

  section 2318), identifies overt acts committed in furtherance of the conspiracy, and

  provides context and specific detail as to the Defendant’s scheme. Mot. at 7.

         Count Two tracks the language of 18 U.S.C. § 2318 and incorporates the

  elements of the offense. Federal law criminalizes trafficking in “illicit label[s] affixed

  to, enclosing, or accompanying, or designed to be affixed to, enclose, or accompany .

  . . a copy of a computer program.” 18 U.S.C. § 2318(a)(1)(B). “The statute targets the

  secondary market in authenticating labels.” United States v. Harrison, 534 F.3d 1371,

  1373 (11th Cir. 2008). An “illicit label” is a “genuine certificate, licensing document,

  registration card, or similar labeling component,” that meets two criteria. 18 U.S.C.

  § 2318(b)(4). First, the component must be “used by the copyright owner to verify

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  that a [copy of a work] is not counterfeit or infringing of any copyright.” Id. at

  § 2318(b)(4)(A). Second, the component must either be “distributed or intended for

  distribution not in connection with the copy . . . to which such labeling component

  was intended to be affixed by the respective copyright owner,” id. at

  § 2318(b)(4)(B)(1), or be “knowingly falsified in order to designate a higher number

  of licensed users or copies than authorized by the copyright owner,” id. at

  § 2318(b)(4)(B)(2), without the copyright owner’s authorization.

        Moreover, the statute references the definition of “traffic” from 18 U.S.C. §

  2320(f) (trafficking in counterfeit goods and services), which includes, “to transport,

  transfer, or otherwise dispose of, to another, for purposes of commercial advantage

  or private financial gain, or to make, import, export, obtain control of, or possess,

  with intent to so transport, transfer, or otherwise dispose of.” Id. at § 2318(b)(2). The

  Indictment describes multiple instances in which the Defendant obtained control of

  and possessed COA labels with the intent to transport, transfer, or otherwise dispose

  of, to another, for purposes of commercial advantage or private financial gain.

        The Defendant’s reliance on Section 103 of Pub. L. 108-482, the statute’s

  statutory note, is unavailing. Section 103 declares that the prohibitions of 18 U.S.C. §

  2318 “shall not be construed to apply” in either criminal or civil cases, to the

  electronic transmission of genuine labeling components (Sec. 103(a)(1)(A)) and shall

  not be construed to apply, in civil cases, to the electronic transmission of counterfeit



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  labeling components (Sec. 103(a)(1)(B)). The Motion focuses on the instances

  described in the Indictment in which the Defendant is alleged to have electronically

  transmitted key codes transcribed from illicit Microsoft COA labels—conduct that

  was included for context as to the conspiratorial scheme. But the Indictment also

  alleges multiple instances in which the Defendant trafficked in actual, physical COA

  labels. In other words, she “obtained control of and possessed” illicit, physical COA

  labels, and did so, at a minimum, with the intent to “otherwise dispose of those

  labels” for purposes of commercial advantage or private financial gain.

         For example, Overt Acts 19i through 19l describe two transactions on or about

  December 5, 2022, between the Defendant and Unindicted Coconspirator-1 in which

  the Defendant purchased approximately 9,988 “units” of Microsoft Windows 10 Pro

  COA labels from Unindicted Coconspirator-1 for a total of $199,760. Indictment ¶¶

  19i-k. Moreover, Unindicted Coconspirator-1 confirmed that same day that he was

  “sending that package out for priority delivery,” describing it as “Precious cargo,”

  which plainly relates to the physical labels that the Defendant had purchased. Id. ¶

  19l. These overt acts fall squarely within the prohibition against trafficking in illicit

  labels under 18 U.S.C. § 2318.

         The Defendant’s second challenge to Counts One and Two fails for similar

  reasons. The Defendant argues that her electronic transmission of transcribed key

  codes cannot violate section 2318 because the Indictment does not allege the



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  Defendant “trafficked in ‘genuine’ illicit labels . . . only in transcribed copies of

  product key codes.” Mot. at 10. As explained above, however, in narrowly focusing

  on the allegations involving the electronic transmission of product key codes that

  were transcribed from COA labels, the Defendant ignores the allegations that

  expressly relate to her receipt and possession of physical, illicit COA labels in

  violation of 18 U.S.C. § 2318.

         Because the Motion fails to identify any pleading deficiencies contained in

  Counts One and Two of the Indictment, it should be denied.

                2.     Counts Three through Five sufficiently allege that the
                Defendant trafficked in and possessed unauthorized access devices in
                the form of Microsoft product activation key codes.

         The Defendant argues that Counts Three through Five fail to specifically

  allege that the product key codes accessed any individual accounts, which she

  believes is necessary to sufficiently charge an access device crime under 18 U.S.C.

  § 1029. Mot. at 10-13. But that argument is premised on the Defendant’s

  misunderstanding of the functionality of product key codes. As explained below,

  product key codes exist to activate discrete Microsoft products for certain licensees

  (i.e., account holders). This conclusion is consistent with the Eleventh Circuit’s

  broad reading of section 1029.

         An “access device” is “any card, plate, code, account number, electronic serial

  number, mobile identification number, personal identification number, or other



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  telecommunications service, equipment, or instrument identifier, or other means of

  account access that can be used, alone or in conjunction with another access device,

  to obtain money, goods, services, or any other thing of value, or that can be used to

  initiate a transfer of funds (other than a transfer originated solely by paper

  instrument).” 18 U.S.C. § 1029(e)(1) (emphasis added). The Eleventh Circuit has

  concluded that this “broad definition” includes “credit cards, debit cards, usernames

  and passwords, routing and bank account numbers, and merchant account

  numbers.” United States v. Wright, 862 F.3d 1265, 1274-75 (11th Cir. 2017) (collecting

  cases).

        A product key code constitutes an “access device” because of the account it

  accesses within Microsoft and the contractual relationship it affords via continued

  access to Microsoft’s specific software programs. As explained in the Indictment, the

  product key code is used during the authorization process to allow an end user to

  access the full version of Microsoft software. Each product key code is made up of a

  25-character alphanumeric code typically grouped in five groups of five characters

  (e.g., “AB1C2-D3EF4-G567H-8IJKL-MN9OP”). The product key code allows an

  end user to activate a preloaded or downloaded copy of Microsoft software, such as a

  Windows operating system or Microsoft Office programs.

        When a product key code is created by Microsoft, it is intended for a specific

  manner of distribution (e.g., as an OEM code, one offered to members of the



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  Microsoft Developer Network, for retail, or under academic licensing), specific

  product (e.g., Microsoft Office 2010, Microsoft Office 2010 Student), a discrete

  number of activations, and in some cases, a geographic restriction. After a product

  key code is used to authenticate a product, Microsoft servers then create a record of

  its use, including the date, time, and IP address used to install this program, as well

  as a configuration snapshot of the computer and operating system used to install this

  program (to ensure the same computer may reinstall the associated product if

  necessary—if it is substantively changed, the program may require reactivation). In

  addition to this information retained upon the installation and activation of a

  product using a product key code, the process of using a product key code to install

  software creates another internal record.

        After a software product is successfully installed using a digital product key

  code, a product identification number (“PID”) is created by Microsoft, which is then

  used by Microsoft Customer Service to help identify the product when end users

  engage customer support. This PID supports the ongoing relationship between the

  end user and Microsoft, which is a contractual one (since the program use is allowed

  as per the terms of the licensing arrangement). As per the licensing arrangement,

  Microsoft is within its rights to revoke an end user’s access to these programs if they

  violate these terms of use. Other “accounts” are likewise implicated in the course of

  this scheme, since Microsoft has identified numerous abuses with its “volume



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  licensing” and academic software distribution partners. In essence, Microsoft allows

  developers or large institutional clients to enter into a “volume licensing” agreement

  whereby they could obtain key codes at very low amounts.

         Whether software product key codes constitute access devices is a matter of

  first impression in the Eleventh Circuit. But the Eleventh Circuit has made clear in

  an earlier, published decision that product key codes fall within the bounds of section

  1029. In United States v. Dabbs, 134 F.3d 1071 (11th Cir. 1998), the Eleventh Circuit

  concluded that merchant account numbers fall within the definition of “access

  device” under section 1029(e)(1). Id. ¶ 1081. In holding that section 1029 proscribes

  using a merchant account number with the intent to defraud, the Eleventh Circuit

  reviewed the legislative history of the statute, which “clearly shows Congress’s intent

  to prohibit innovative means of access device fraud and contradicts the appellants’

  attempt to narrowly interpret the statutory definition of ‘access device.’” Id. at 1080.

  The Eleventh Circuit observed that “Congress sought to enact ‘broader statutory

  language in an effort to anticipate future criminal activities.’” Id. at 1081 (quoting

  S.Rep. No. 98–368, at 5, reprinted in 1984 U.S.C.C.A.N. 3647, 3651). Accordingly, it

  is “appropriate to broadly construe the statutory language of section 1029 to include

  the innovative means that parties use to gain unauthorized information to engage in

  fraudulent activities.” Id. at 1081.

         In light of the broad reading of section 1029(e)(1) that the Eleventh Circuit has



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  endorsed, United States v. Brady, 13 F.3d 334 (10th Cir. 1993), and the Eleventh

  Circuit’s discussion of Brady in United States v. Morris, 81 F.3d 131 (11th Cir. 1996),

  do not help the Defendant. In Brady, the Tenth Circuit held that altered cellular

  telephones used for purposes of free riding on the cellular telephone system were not

  access devices within the meaning of section 1029. Id. at 338-39. The Brady court

  explained that the Tenth Circuit had previously applied section 1029 to the

  unauthorized use of credit cards and long distance telephone access codes, but it had

  refused to apply the statute to electronic addresses of satellite television descramblers.

  Id. § 338. The Brady court took a narrow view of the statute, concluding that section

  1029 applies only to “access to an identifiable account for which a record is created

  and maintained.” Id. at 339.

         Even if the Eleventh Circuit’s reading of the definition of “access device” is

  limited to access to identifiable accounts only—which it is not—the product key

  codes alleged in the Indictment pass muster. In fact, the Brady court’s analysis

  supports the government’s position in this case. Like the long distance telephone

  access codes and unassigned credit card account codes referenced in Brady, the

  licenses (accounts) to be activated by product key codes are legitimate and created for

  future use, and each time a product key code is used to activate a license, that

  activation (or attempt) appears in a record created and maintained by Microsoft for a

  particular license. See id. at 339.



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         The civil case that the Defendant cites, Synopsys, Inc. v. Ubiquiti Networks, Inc.,

  2017 WL 3485881 (N.D. Cal. Aug. 15, 2017), is also inapposite. Unlike in

  Synopsys—in which the plaintiff’s fraud claims received heightened scrutiny under

  Federal Rule of Civil Procedure 9(b)’s particularity requirement—there is no

  requirement under Federal Rule of Criminal Procedure 7(c) or section 1029 case law

  that the Indictment allege “facts describing the actual or functional account” that

  product keys are used to access to “obtain money, goods, or services, or any other

  thing of value.” Id. at *14; see Yonn, 702 F.2d at 1348 (indictment that tracks

  language of statute is sufficient as long as essential elements are alleged). What’s

  more, in allowing the plaintiff to amend its claim, the Synopsys court observed that

  “nothing in the language of [Section 1029] excludes its application to this type of

  case.” Id.

          In short, product key codes, by their nature and use, constitute access

  devices. They are used to activate a license to a software program, which creates a

  record for Microsoft that the license in question has been accessed and authorizes full

  use of the program for the licensee. Absent product key codes use in this process, a

  particular software program would be rendered near useless—no better than a freely

  obtained trial copy of a software program. In other words, the activation and

  authentication process accesses a registry maintained by Microsoft, meaning that an

  “account” is accessed in the course of this process. These codes are used to “obtain



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  money, goods, services, or any other thing of value”—the full and unfettered access

  to a working copy of the software program.

         Counts Three through Five of the Indictment, therefore, sufficiently allege that

  product key codes are access devices.

  III.   CONCLUSION

         For the foregoing reasons, the United States respectfully requests that the

  Court deny the Defendant’s Motion to Dismiss.


                                          Respectfully submitted,

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                              CERTIFICATE OF SERVICE

         I hereby certify that on May 20, 2024, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system, which will send a notice of

  electronic filing to the following:

         Kevin Darken, Esq.
         Todd Foster, Esq.


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